Case 2:04-Cr-20286-BBD Document 37 Filed 08/24/05 Page 1 of 4 Page|D 46

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UNITED STATES DISTRICT CoURT
WESTERN DISTRICT oF TENNESSEE 05 AU.G 214 AH 8= 07
Western Division

 

UNITED STATES OF AMERICA

-v- Case No. 2:04cr20286-D

KATRINA R. NEWSON
A/KfA KATRINA R. NEWSOM

 

ORDER SETTlNG
COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(I) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
case.

(2) The defendant shall immediately advise the court, Pretrial Services Office, Probation Office, defense counsel
and the U.S. Attorney in writing of any change in address and telephone number.

(3) The defendant shall appear at ali proceedings as required and shall surrender for service of any sentence
imposed as directed The defendant shall next appear as directed by the Court.

ADD|T|ONAL COND|T|ONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

Secured Financial Conditions

0 execute a bond in the amount of $10,000.00. This bond shall also be executed by as surety [or other solvent
surety].

0 report as directed by the Probation Offlce.

0 maintain or actively seek employment

0 abide by the following restrictions on personal association, place§of abode, or travel: Defendant is restricted

in residence and travel within Shelby county without prior approval of Probation.

0 undergo medical or psychiatric treatment as directed by Probation, and pay a percentage of the fee as
determined by Probation.
AOMA order Semng C°ndmons°me,ease Thls documen!entered on the docket sheet In compliance 3 7

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Case 2:04-Cr-20286-BBD Document 37 Filed 08/24/05 Page 2 of 4 Page|D 47

o other: DEFENDANT SHALL NOT OBTAlN ANY NEW LINES OF CREDIT OR INCUR ANY NEW
FINANCIAL OBLIGATIONS WITHOUT PRIOR APPROVAL FROM PROBATION. DEFENDANT
SHALL NOTIFY ANY FUTUR.E EMPLOYERS OF PENDING CHARGES.

0 other: Defendant shall abide by all conditions of probation previously irnposed..

ADV|CE OF PENALT|ES AND SANCTIONS
TO THE DEFENDANT:

YOU ARE ADV|SED OF THE FOLLOW|NG PENALT|ES AND SANCT|ONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of imprisonment, a fme, or both.

The commission of a Federal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor. This sentence shall be in addition to any other sentence.

Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigation It is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or
both to tamper with a witness, victim or informant; to retaliate or attempt to retaliate against a witness, victim or
informant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing.

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;
(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall

be fined not more than $250,000 or imprisoned not more than five years, or both;
(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both',
(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense. In addition, a failure to appear may result in the forfeiture of any bond posted

AO 199A Order Setting Condltions of Re|ease '2'

Case 2:04-Cr-20286-BBD Document 37 Filed 08/24/05 Page 3 of 4 Page|D 48

ACKNOWLEDGMENT OF DEFENDANT

I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. l promise
to obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposed l am aware
of the penalties and sanctions set forth above.

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L- vtrw

Srgnature of Defendant

 

KATRIAN R. NEWSON

6870 CLUBRIDGE CIRCLE, #69
MEMPHIS, TN 38115
901-362-5899

D|RECT|ONS TO THE UN|TED STATES MARSHAL

The defendant is ORDERED released after processing
The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
Judieial Offrcer that the defendant has posted bond and/or complied with all other conditions for release. The

defendant Shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

"'t$.m

Date: August 23, 2005

 

TU M. PHAM
UNITED STATES MAGISTRATE JUDGE

AO 199A Order Settinq Conditions of Release -3-

   

UNITED sATE 'sT'IIC COURT - WESTERN DISRTCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
case 2:04-CR-20286 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

